It is impossible for anyone to disagree either with the result or anything thus far said in its support. But it seems to me that the time has come for us to break away somewhat from the notion that when a case is in the district court on appeal from the probate court the jurisdiction of the former is limited by that of the latter. The statute (3 Mason Minn. St. 1938 Supp. § 8992-169) declares that when the case is in the district court on appeal it shall be "tried and determined in the same manner as if originally commenced in that court." That declaration, without more, is a plain mandate to the district court to use all its jurisdiction of persons and subject matter needed to determine the case.
Back of that statute and assuring its validity is the provision of our constitution that the legislature shall regulate the practice and proceedings of our courts. Art. 6, § 14.
The statutory provision, I submit, authorized as it is by the constitution, puts beyond the field of reasonable debate such jurisdictional questions as that raised in this case.